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                                 IN THE UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION

  JOHN DOE, an individual,                                           )
                                                                     )
                              Plaintiff,                             )
                                                                     ) CASE NO. 1:16-cv-01266-TWP-DKL
                     v.                                              )
                                                                     )
  BUTLER UNIVERSITY, an Indiana non-profit                           )
  Corporation,                                                       )
  JAMES M. DANKO, an individual,                                     )
  LEVESTER JOHNSON, an individual,                                   )
  STACIE COLSON PATTERSON, an individual,                            )
  ANNE FLAHERTY, an individual,                                      )
  SALLY CLICK, an individual,                                        )
  ERIN McCLUNEY, an individual,                                      )
  ROBERT PADGETT, an individual, and                                 )
  MARTHA DWIZLIK, an individual                                      )
                                                                     )
                              Defendants.                            )

    DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
  EXTENSION OF TIME TO COMPLETE NON-EXPERT WITNESS DISCOVERY AND
  DISCOVERY RELATED TO LIABILITY ISSUES AND INCORPORATED REQUEST
                 THAT EXTENSION APPLY TO ALL PARTIES

           On Saturday, February 10, 2018, Plaintiff “John Doe”1 filed an “unopposed” Motion to

  extend the deadline to complete non-expert witness discovery and discovery relating to liability

  issues by 28 days. Plaintiffs’ representation that his Motion is “unopposed” by Defendants is

  inaccurate. Plaintiff never consulted with Defendants’ counsel regarding whether Defendants

  objected to extending the non-expert and liability discovery deadline, and Defendants do, in fact,

  object to Plaintiff’s motion. For the reasons set forth below, Plaintiff has failed to establish good




  1
    On January 8, 2018, the Court issued an Order denying Plaintiff’s Motion to Continue Proceeding Anonymously.
  (Dkt. No. 108). The Court stayed for 30 days its order directing that all future public filings use the plaintiff’s true
  name, and further directed that all public filings shall continue to refer to the Plaintiff as John Doe until the Court lifts
  the stay. Because the Court has not issued an Order lifting the stay, Defendants will refer to Plaintiff as “John Doe”
  in this filing.
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  cause for an extension to the discovery deadline as required by Federal Rule of Civil Procedure

  16(b)(4).

          1.       Federal Rule of Civil Procedure 16(b)(3) requires the district court to issue a

  scheduling order limiting the time to complete discovery. Rule 16(b)(4) states that a scheduling

  order “may be modified only for good cause and with the judge’s consent.” “In making a good-

  cause determination, the primary consideration for district courts is the diligence of the party

  seeking amendment” to the Court’s scheduling order. See Alioto v. Town of Lisbon, 651 F.3d 715,

  720 (7th Cir. 2011)); see also 3-16 MOORE’S FEDERAL PRACTICE § 16.14[1][b] (Matthew Bender

  3d ed. 2010) (“[A]lthough undoubtedly there are differences of views among district judges about

  how compelling a showing must be to justify extending the deadlines set in scheduling orders, it

  seems clear that the factor on which courts are most likely to focus when making this determination

  is the relative diligence of the lawyer or lawyers who seek the change.”) “Good cause sufficient

  for altering discovery deadlines is demonstrated when a party shows that, despite its diligence, the

  timetable could not be met.” Adams v. N. Ind. Pub. Serv. Co., 2015 U.S. Dist. LEXIS 103544 *2

  (N.D. Ind. Aug. 7, 2015).

          2.       On May 19, 2017, the Court approved the Case Management Plan, which set the

  deadline to complete non-expert witness discovery and discovery relating to liability issue for

  February 12, 2018. (Dkt. No. 54.)

          3.       In the nine months since the discovery deadline was set, Plaintiff has failed to

  complete any discovery. Instead, on February 10, 2018, two days before the discovery deadline,

  Plaintiff filed a motion requesting an extension of the deadline and served requests for production

  of documents and interrogatories on Defendants.2 These discovery requests are untimely. The


  2
   On late Saturday night – after filing his motion for an extension of time – Plaintiff’s counsel emailed Defendants’
  counsel the written discovery requests.
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  Case Management Plan states that counsel may not serve written discovery within 30 days before

  the discovery deadline “unless they seek leave of Court to serve the belated request and show good

  cause for the same.” (Dkt. No. 50 at p. 7 fn 1.) Counsel must also attach the proposed belated

  discovery requests to any motion requesting an extension of time, which Plaintiff failed to do. (Id.)

         4.      In contrast, Defendants have completed all of their non-expert and liability

  discovery in the time allotted by the Court, which included serving written discovery on Plaintiff,

  subpoenaing Plaintiff’s medical records from third parties, and taking Plaintiff’s deposition.

         5.      Plaintiff has offered no explanation as to why he failed to complete any discovery

  prior to the discovery deadline. In his Motion, Plaintiff states that his counsel lives in Miami,

  Florida and is about to begin a five-day federal jury trial on Monday, February 12, 2018. Neither

  of these facts explains why he could not serve written discovery requests in the eight months

  between mid-May 2017 and mid-January 2018.

         6.      As for depositions, Plaintiff states that “counsel for Plaintiff and Defendants have

  already discussed setting the main depositions – those being the defendants – for a specific period

  of time to allow Plaintiff to minimize his costs which he must incur in order to have his attorney

  travel and stay in Indianapolis for an extended time, so as to avoid multiple trips from Miami just

  to complete discovery.” (Dkt. No. 109, ¶ 3.) Defendants’ counsel is unsure what conversation

  Plaintiff’s counsel is referring to. Plaintiff’s counsel and Defendants’ counsel discussed setting

  depositions in a one-week period if possible to avoid Plaintiff’s counsel making multiple trips from

  Florida, but this conversation occurred months ago, and Plaintiff’s counsel never followed up to

  discuss specific dates or who he wanted to depose. Defendants’ counsel never agreed to set aside

  specific dates (and could not have done so without knowledge of who Plaintiff’s counsel wished
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  to depose) and certainly never agreed to allow depositions to take place after the close of liability

  discovery.

         7.      In any event, the fact that Plaintiff’s counsel lives in Miami, Florida is not a basis

  for failing to make any effort to schedule depositions prior to the discovery deadline. Plaintiff

  chose to hire an attorney outside of the district, and this is not a case where scheduling conflicts

  did not permit depositions to be scheduled in a timely manner. Plaintiff’s counsel never asked

  Defendants’ counsel to check on the availability of any of the individual defendants for a

  deposition, nor did he otherwise send out deposition notices.

         8.      In sum, Plaintiff has failed to show good cause as to why he could not complete his

  discovery in the nine months allotted to the parties by the Case Management Plan. Plaintiff

  neglected to do any discovery for months and then – when he realized the discovery deadline was

  about to pass – filed a motion requesting an extension of time and hastily served untimely written

  discovery requests.    Plaintiff should not be permitted to bombard Defendants with written

  discovery requests and deposition notices in a one-month period because he did not conduct any

  discovery in the timetable set by the Court. See 3-16 MOORE’S FEDERAL PRACTICE § 16.14[1][b]

  (“Carelessness or oversight is not compatible with a finding of diligence and provides no reason

  to grant relief.”) This is especially true because Defendants complied with the Court’s order and

  diligently completed their discovery by the deadline.

         WHEREFORE, because Plaintiff has failed to establish good cause to extend the discovery

  deadline as required by Rule 16(b)(4), the Court should deny his Motion.
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                                                        /s/ Craig W. Wiley

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                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on February 12, 2018, I filed the foregoing

  electronically with the Clerk of the Court. Notice of this filing will be sent to the following by

  operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

  system.

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